Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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Case:17-03283-LTS Doc#:24328-1 Filed:05/25/23 Entered:05/25/23 15:22:38   Desc:
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